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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


Devon Thomas Lee Marlon,
                                                    Case No. 2:21-cv-4153
      Plaintiff,
                                                    Judge Michael H. Watson
      V.

                                                    Magistrate Judge Deavers
Ohio State Highway Patrol, et. a!.,

      Defendants.

                                      ORDER


      On September 16, 2021, Magistrate Judge Deavers issued a Report and

Recommendation ("R&R"), EOF No. 5, recommending that the Court dismiss

PlaintifTs claims against Defendant Ohio State Highway Patrol, grant leave for

Plaintiff to amend his claims against Defendant Micheal Williams, and transfer

this action to the United States District Court for the Southern District of Ohio

Western Division, Cincinnati, pursuant to 28 U.S.C.§ 1406(a)or 1404. See ECF

No. 5. In the R&R, Magistrate Judge Deavers notified the parties of their right to

file objections to the R&R pursuant to 28 U.S.C.§ 636(b)(1). R&R 8, ECF No. 5.

She also specifically advised the parties that the failure to object to the R&R

within fourteen days would result in a waiver of both the right to de novo review

by the District Judge and the right to appeal the decision of the District Court

adopting the R&R. Id.

      The deadline for filing such objections has passed, and no objections were

filed. Having received no objections, the R&R is ADOPTED IN PART. PlaintifTs
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claims against Defendant Ohio State Highway Patrol are DISMISSED WITH

PREJUDICE. PlaintifTs claims against Defendant Micheal Williams are

DISMISSED WITHOUT PREJUDICE. Plaintiff may file an Amended Complaint

against Defendant Micheal Williams only WITHIN THIRTY DAYS.

      IT IS SO ORDERED.

                                        /s/Michael H. Watson
                                      MICHAEL H. WATSON,JUDGE
                                      UNITED STATES DISTRICT COURT




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